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                                                              September 30, 2022
 Via ECF and Email
 Hon. Edgardo Ramos
 United States District Court
 Southern District of New York
 Thurgood Marshall United States Courthouse
 40 Foley Square
 New York, New York 10007

              Re:      Rachel Weingeist (“Plaintiff”) v. Tropix Media & Entertainment, et al.
                       Civil Action No.: 1:20-CV-00275-ER-SLC

 Dear Judge Ramos:

         This firm represents Third-Party Defendant Pickled Punk Sublease LLC (“Pickled Punk”)
 in the above-referenced action. In accordance with your Honor’s Individual Practices, this is a
 request for a pre-motion conference in connection with Picked Punk’s proposed motion to dismiss
 the Third-Party Complaint (“TPC”) of Tropix Media & Entertainment, Tropix Holdings LLC,
 Tropix Inc., and Mario Baeza (the “Third Party Plaintiffs”) for lack of subject matter jurisdiction
 pursuant to Fed. R. Civ. P. 12(b)(1). On September 2, 2022, the Court granted the undersigned’s
 letter motion extending Pickled Punk’s time to respond to the Third-Party Complaint until
 September 30, 2022. Docs. 117-18. As provided for in your Honor’s Individual Practices, my
 understanding is that the September 30, 2022 deadline will be stayed with a new deadline to be
 established after the requested conference.

         “Determining the existence of subject matter jurisdiction is a threshold inquiry and a claim
 is properly dismissed for lack of subject matter jurisdiction under Rule 12(b)(1) when the district
 court lacks the statutory or constitutional power to adjudicate it.” Morrison v. Nat’l Australia Bank
 Ltd., 547 F.3d 167, 170 (2d Cir. 2008) (internal citation omitted). “A plaintiff asserting subject
 matter jurisdiction has the burden of proving by a preponderance of the evidence that it exists.” Id.
 (internal citation omitted). Here, Third Party Plaintiffs do not allege—nor could they—that the
 Third Party Complaint invokes federal question jurisdiction; all seven counts pleaded therein arise
 under state common law sounding in tort for the wrongful possession or retention of Tropix office
 furniture and equipment totaling an estimated $17,000, as alleged by Third Party Plaintiffs. Doc.
 94, TPC ¶¶ 34, 46-80 (alleging (1) Unjust Enrichment; (2) Conversion; (3) Property Taken Without
 Authorization; (4) Negligently Caused Economic Loss; (5) Replevin; (6) Negligence; and (7)
 Conspiracy (the “Third Party Claims”)). Rather, Third Party Plaintiffs assert that subject matter
 jurisdiction is proper “pursuant 28 U.S.C. § 1367 as the claims raised in this Counterclaim/Third
 Party Complaint are supplemental and related to the federal question raised in Plaintiff’s initial
 complaint,” or, in the alternative, pursuant to 28 U.S.C. § 1332, as “this dispute is between citizens
 of different states as certain Counterclaim Plaintiffs are residents of Delaware and New Jersey and
 Counterclaim Defendants/Third Party Defendants are citizens of New York.” Doc. 94, TPC ¶ 7.


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        First, no supplemental jurisdiction exists. Where a court has original jurisdiction over a
federal claim, the court has “supplemental jurisdiction over all other claims that are so related to
claims in the action within such original jurisdiction that they form part of the same case or
controversy under Article III of the United States Constitution.” 28 U.S.C. § 1367(a). A state law
claim forms part of the same case or controversy if it and the federal claim “derive from a common
nucleus of operative fact.” Briarpatch Ltd., L.P v. Phoenix Pictures, Inc., 373 F.3d 296, 308 (2d
Cir. 2004). Courts have traditionally found a “common nucleus of operative fact” exists “where
the facts underlying the federal and state claims substantially overlapped[,] or where presentation
of the federal claim necessarily brought the facts underlying the state claim before the court[.]”
Lyndonville Sav. Bank & Trust Co. v. Lussier, 211 F.3d 697, 704 (2d Cir. 2000). Conversely, none
exists “when the federal and state claims rested on essentially unrelated facts.” Id. Here, no
“common nucleus of operative fact” exists as there is no material overlap, related evidence or facts
in common between Plaintiff’s FLSA claim and the Third Party Claims about office equipment.
The trial of the wage and employment claims in the Complaint will focus on the employment status
and relationship of the primary parties, payment for work performed by Plaintiff, and the
employment and record-keeping practices of Tropix. Trial of the Third Party Claims, by contrast,
would focus on the ownership or right to possess the Tropix office equipment.

         Second, Third Party Plaintiffs’ alternative basis for subject matter jurisdiction based on
diversity would also fail. Federal courts have subject matter jurisdiction over state law claims when
all plaintiffs are diverse in citizenship to all defendants and “the matter in controversy exceeds the
sum or value of $75,000, exclusive of interest and costs.” 28 U.S.C. § 1332(a). Contrary to Third
Party Plaintiffs’ assertions, no independent basis for diversity jurisdiction exists. “A party invoking
the jurisdiction of the federal court has the burden of proving that it appears to a reasonable
probability that the claim is in excess of the statutory jurisdictional amount.” Tongkook Am., Inc.
v. Shipton Sportswear Co., 14 F.3d 781, 784 (2d Cir. 1994). Here, the Third Party Complaint—
alleging conversion of office equipment totaling $17,000—fails on its face to establish an amount
in controversy in excess of $75,000. Moreover, Third Party Plaintiffs conspicuously fail to allege
facts demonstrating that the citizenship of each of the Third Party Plaintiffs is completely diverse
from each of the Third Party Defendants. Their failure to do so invites dismissal of the Third Party
Complaint. See, e.g., 147-149 McCarren, LLC v. Holding De Gestion Turistica MIJ Spain S.L.,
No. 21-CV-950 (BMC), 2021 WL 878557, at *3 (E.D.N.Y. Mar. 9, 2021).

      Pickled Punk is prepared to file its motion to dismiss based on the foregoing and related
arguments as soon as the Court grants it permission.


                                                       Respectfully submitted,
                                                       /s/Steven J. Cohen
                                                       Steven J. Cohen

cc:      All Counsel of Record




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